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 DENTONS US LLP                                 TOGUT, SEGAL & SEGAL LLP

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         sarah.schrag@dentons.com               Email: altogut@teamtogut.com
                                                       aglaubach@teamtogut.com
 Proposed Counsel for Debtors and                      eblander@teamtogut.com
 Debtors in Possession
                                                Proposed Counsel for Debtors and
                                                Debtors in Possession

                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

   In re:                                         Chapter 11

   Powin, LLC,                                    Case No. 25-16137 (MBK)
                     Debtor.

   Tax I.D. No. XX-XXXXXXX

   In re:                                         Chapter 11

   PEOS Holdings, LLC,                            Case No. 25-16144 (MBK)
                     Debtor.

   Tax I.D. No. XX-XXXXXXX
Case 25-16137-MBK       Doc 3    Filed 06/10/25 Entered 06/10/25 01:34:41   Desc Main
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   In re:                                      Chapter 11

   Powin Project LLC,                          Case No. 25-16136 (MBK)
                    Debtor.

   Tax I.D. No. XX-XXXXXXX

   In re:                                      Chapter 11

   Powin China Holdings 1, LLC,                Case No. 25-16138 (MBK)
                    Debtor.

   Tax I.D. No. XX-XXXXXXX

   In re:                                      Chapter 11

   Powin China Holdings 2, LLC,                Case No. 25-16139 (MBK)
                    Debtor.

   Tax I.D. No. XX-XXXXXXX

   In re:                                      Chapter 11

   Charger Holdings, LLC,                      Case No. 25-16140 (MBK)
                    Debtor.

   Tax I.D. No. XX-XXXXXXX

   In re:                                      Chapter 11

   Powin Energy Ontario Storage, LLC,          Case No. 25-16141 (MBK)
                    Debtor.

   Tax I.D. No. XX-XXXXXXX




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    In re:                                                     Chapter 11

    Powin Energy Operating Holdings, LLC,                      Case No. 25-16142 (MBK)
                            Debtor.

    Tax I.D. No. XX-XXXXXXX

    In re:                                                     Chapter 11

    Powin Energy Operating, LLC,                               Case No. 25-16143 (MBK)
                            Debtor.

    Tax I.D. No. XX-XXXXXXX


       MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER (I) DIRECTING
            JOINT ADMINISTRATION OF CHAPTER 11 CASES; AND
                     (II) GRANTING RELATED RELIEF


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Powin, LLC and the above-referenced affiliated debtors and debtors in possession

(collectively, the “Debtors”) under chapter 11 of title 11 of the United States Code, §§ 101 et seq.

(the “Bankruptcy Code”), in these chapter 11 cases (the “Chapter 11 Cases”), by and through their

undersigned counsel, hereby move (the “Motion”)1 this Court for entry of an order (substantially

in the form attached hereto as Exhibit A, the “Proposed Order”): (a) authorizing, but not directing,

the Debtors to procedurally consolidate and jointly administer these Chapter 11 Cases, and

(b) granting related relief. In further support of this Motion, the Debtors respectfully state as

follows:




1
 Capitalized terms used but not defined in this motion have the meanings ascribed to them in the First Day Declaration
(as defined below).



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                               I.        JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference from the United States District Court for the District of New Jersey dated as of

September 18, 2012. The Debtors confirm their consent, pursuant to Rule 7008 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court

in connection with this Motion to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

       2.      Venue of the Chapter 11 Cases and related proceedings is proper pursuant to 28

U.S.C. §§ 1408 and 1409.

       3.      The predicates for the relief requested herein are sections 105(a) and 342(c)(1) of

the Bankruptcy Code and Bankruptcy Rules 1015(b) and 2002.

                                         II.   BACKGROUND

       4.      On the date hereof (the “Petition Date”), the Debtors each commenced a voluntary

case for relief under chapter 11 of the Bankruptcy Code. The Debtors are authorized to continue

operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee

has been appointed in the Chapter 11 Cases.

       5.      Additional information regarding the Debtors, including their business and the

events leading to the commencement of these Chapter 11 Cases is set forth in the Declaration of

Gerard Uzzi In Support of Emergency First Day Motions of the Debtors (the “First Day

Declaration”), filed concurrently herewith.




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                                   III.    RELIEF REQUESTED

       6.      The Debtors seek entry of the Proposed Order, substantially in the form attached

hereto as Exhibit A: (a) authorizing, but not directing, the Debtors to procedurally consolidate and

jointly administer these Chapter 11 Cases, and (b) granting related relief. The Debtors request that

the Court maintain one file and one docket for all of the jointly administered cases under the case

of Powin LLC, Case No. 25-16137 (MBK).

                                     IV.    BASIS FOR RELIEF

       7.      Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The nine (9) Debtor entities

that commenced these Chapter 11 Cases are “affiliates” as that term is defined in section 101(2)

of the Bankruptcy Code. 11 U.S.C. § 101(2). Accordingly, the Bankruptcy Code and Bankruptcy

Rules authorize the Court to grant the relief requested herein.

       8.      Joint administration is generally non-controversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple related debtors. See, e.g., In re CBRM

Realty Inc., No. 25-15343 (MBK) (D.N.J. May 27, 2025) (directing joint administration); In re

New Rite Aid, LLC, No. 25-14861 (MBK) (D.N.J. May 7, 2025) (same); In re Sam Ash Music

Corp., No. 24-14727 (SLM) (D.N.J. May 10, 2024) (same); In re Thrasio Holdings, Inc., No. 24-

11840 (CMG) (Bankr. D.N.J. Mar. 1, 2024) (same); In re Invitae Corp. (Case No. 24-11362

(MBK) (D.N.J. Feb. 16, 2024) (same); In re Careismatic Brands, LLC, No. 24-10561 (VFP)




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(Bankr. D.N.J. Jan. 24, 2024) (same); In re WeWork Inc., Case No. 23-19865 (JKS) (Bankr. D.N.J.

Jan. 8, 2024) (same).2

        9.       Joint administration of these Chapter 11 Cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings, and orders in these Chapter 11 Cases will affect each Debtor entity.

The entry of an order directing joint administration of these Chapter 11 Cases will reduce fees and

costs by avoiding duplicative filings and objections. Joint administration will also allow the Office

of the United States Trustee for the District of New Jersey (the “U.S. Trustee”) and all parties in

interest to monitor these Chapter 11 Cases with greater ease and efficiency.

        10.      Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies. This Motion seeks only administrative, not substantive, consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested; rather, parties in

interest will benefit from (i) the cost reductions associated with the joint administration of these

chapter 11 cases and (ii) ease of reference to one main case docket of 25-16137 (MBK) throughout

these Chapter 11 Cases. Accordingly, the Debtors submit that the joint administration of these

Chapter 11 Cases is in the best interests of their estates, their creditors, and all other parties in

interest.

        11.      The Debtors request that all orders, pleadings, papers, and documents, except

proofs of claim, lists, schedules, and statements of financial affairs, be filed and docketed in the

case number assigned to Powin, LLC (the “Lead Case”), bearing the caption as shown in Exhibit

1 to the Proposed Order attached hereto.



2
 Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
Copies of these orders are available upon request to the Debtors’ proposed counsel.



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         12.   The Debtors also seek the Court’s direction that a notation be entered on the docket

in each of the Debtors’ Chapter 11 Cases to reflect the joint administration of these Chapter 11

Cases.

         13.   Based on the foregoing, the Debtors submit that the relief requested herein is

necessary and appropriate, is in the best interests of their estates, their creditors, and all other

parties in interest, and should be granted in all respects.

                         V.      WAIVER OF MEMORANDUM OF LAW

         14.   The Debtors respectfully request that the Court waive the requirement to file a

separate memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon

which the Debtors rely is set forth herein and the Motion does not raise any novel issues of law.

                                VI.     RESERVATION OF RIGHTS

         15.   Nothing contained in this Motion or any order granting the relief requested in this

Motion, and no action taken pursuant to the relief requested or granted (including any payment

made in accordance with any such order), is intended as or shall be construed or deemed to be:

(a) an admission as to the amount of, basis for, or validity of any claim against the Debtors under

the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any

other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement

to pay any particular claim; (d) an implication, admission or finding that any particular claim is

an administrative expense claim, other priority claim or otherwise of a type specified or defined in

this Motion or any order granting the relief requested by this Motion; (e) a request or authorization

to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or perfection of any

lien on, security interest in, or other encumbrance on property of the Debtors’ estates; or (g) a




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waiver or limitation of any claims, causes of action or other rights of the Debtors or any other party

in interest against any person or entity under the Bankruptcy Code or any other applicable law.

                                    VII.      NO PRIOR REQUEST

          16.    No prior request for the relief sought in this Motion has been made to this Court or

any other court.

                                              VIII. NOTICE

          17.    Pursuant to Local Rule 9013-5(c), notice of this Motion shall be given to the

following parties: (a) the Office of the United States Trustee; (b) counsel for the Debtors’

prepetition and postpetition secured lenders; and (c) the Debtors’ fifty largest unsecured creditors

on a consolidated basis. As this Motion is seeking “first day” relief, within 48 hours of the entry

of the Proposed Order on this Motion, the Debtors will serve copies of the Proposed Order, as

required by Local Rule 9013-5(f). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                        IX.     CONCLUSION

          WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

substantially in the form attached hereto as Exhibit A, and grant such other relief as is just and

proper.

                                      [Signature Page Follows]




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                                   EXHIBIT A

                              (Proposed Form of Order)
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW JERSEY

                                             Chapter 11
  In re:

                                             Case No. 25-16137 (MBK)
  Powin, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                             Chapter 11
  In re:

                                             Case No. 25-16144 (MBK)
  PEOS Holdings, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                             Chapter 11
  In re:

                                             Case No. 25-16136 (MBK)
  Powin Project LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                             Chapter 11
  In re:
                                             Case No. 25-16138 (MBK)
  Powin China Holdings 1, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                             Chapter 11
  In re:

                                             Case No. 25-16139 (MBK)
  Powin China Holdings 2, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX
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                                                Chapter 11
  In re:

                                                Case No. 25-16140 (MBK)
  Charger Holdings, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                                Chapter 11
  In re:

                                                Case No. 25-16141 (MBK)
  Powin Energy Ontario Storage, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                                Chapter 11
  In re:

                                                Case No. 25-16142 (MBK)
  Powin Energy Operating Holdings, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

                                                Chapter 11
  In re:

                                                Case No. 25-16143 (MBK)
  Powin Energy Operating, LLC,

  Debtor.

  Tax I.D. No. XX-XXXXXXX

 ORDER GRANTING MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER (I)
   DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES; AND (II)
                    GRANTING RELATED RELIEF

The relief set forth on the following pages, numbered three (3) through five (5), is ORDERED.
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Debtors:             Powin, LLC, et al.
Case No.             25-16137 (MBK)
Caption of Order:    Order Granting Motion of the Debtors for Entry of an Order (I) Directing
                     Joint Administration of Chapter 11 Cases; and (II) Granting Related Relief


Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Proposed Counsel for Debtors and
 Debtors in Possession                          Proposed Counsel for Debtors and
                                                Debtors in Possession
Case 25-16137-MBK                Doc 3    Filed 06/10/25 Entered 06/10/25 01:34:41                      Desc Main
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Debtors:                     Powin, LLC, et al.
Case No.                     25-16137 (MBK)
Caption of Order:            Order Granting Motion of the Debtors for Entry of an Order (I) Directing
                             Joint Administration of Chapter 11 Cases; and (II) Granting Related Relief


           Upon consideration of the motion (the “Motion”),2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), for entry of an order (this “Order”) (a)

authorizing the Debtors to direct the joint administration of the Debtors’ Chapter 11 Cases for

procedural purposes only; and (b) granting related relief, all as more fully set forth in the Motion;

and upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference from the United States District

Court for the District of New Jersey dated as of September 18, 2012; and that this Court may enter

a final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for hearing on the Motion were

appropriate under the circumstances and that no other notice be provided; and this Court having

determined that the legal and factual bases set forth in the Motion and at the hearing thereon

establish just cause for the relief granted herein; and upon all of the proceedings before this Court;

and after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:




2
    Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.
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Debtors:               Powin, LLC, et al.
Case No.               25-16137 (MBK)
Caption of Order:      Order Granting Motion of the Debtors for Entry of an Order (I) Directing
                       Joint Administration of Chapter 11 Cases; and (II) Granting Related Relief


       1.      The Motion is GRANTED as set forth herein.

       2.      The above-captioned Chapter 11 Cases are hereby jointly administered by this

Court for procedural purposes only.

       3.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

       4.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of New Jersey shall keep, one consolidated docket, one file, and one consolidated

service list for these Chapter 11 Cases.

       5.      All orders, pleadings, papers, and documents filed in the Lead Case shall bear the

caption as shown in Exhibit 1 attached hereto.

       6.      The caption shown in Exhibit 1 attached hereto satisfies the requirements set forth

in section 342(c)(1) of the Bankruptcy Code.

       7.      All lists, schedules, and statements of financial affairs shall be filed and docketed

in the specific Debtor’s case to which they are applicable.

       8.      Any party in interest may request joint hearings on matters pending in any of these

Chapter 11 Cases.

       9.      If pleadings, papers, or documents have been filed in any of the above–captioned

cases other than the Lead Case prior to the entry of this Order, and those matters have not yet been

heard and decided, the party who filed the pleading, paper, or document shall (i) refile the pleading,
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(Page | 5)
Debtors:                Powin, LLC, et al.
Case No.                25-16137 (MBK)
Caption of Order:       Order Granting Motion of the Debtors for Entry of an Order (I) Directing
                        Joint Administration of Chapter 11 Cases; and (II) Granting Related Relief


paper, or document in the Lead Case within three (3) business days of the entry of this Order,

(ii) set the pleading, paper, or document for hearing before the judge assigned to the Lead Case,

and (iii) notice the hearing to all appropriate parties.

        10.     The Clerk shall file a copy of this Order in the Lead Case and each of the affiliated

Debtors’ cases.

        11.     The Debtors shall file individual monthly operating reports for each Debtor and

such reports shall be docketed in the Lead Case.

        12.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

        13.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Local Rules are satisfied by such notice.

        14.     Any party may move for modification of this Order in accordance with

Local Rule 9013-5(e).

        15.     A true copy of this Order shall be served on all required parties pursuant to Local

Rule 9013-5(f).

        16.     This Order shall be effective immediately upon entry.

        17.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
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                                   EXHIBIT 1

                                   Case Caption
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    Proposed Counsel for Debtors and
    Debtors in Possession                                 Proposed Counsel for Debtors and
                                                          Debtors in Possession

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                          Chapter 11
     In re:
     Powin, LLC, et al.,1
                                                          Case No. 25-16137 (MBK)
                        Debtors.
                                                          (Jointly Administered)




1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: (i) Powin Project LLC [1583], (ii) Powin, LLC [0504], (iii) PEOS Holdings, LLC [5476], (iv) Powin
China Holdings 1, LLC [1422], (v) Powin China Holdings 2, LLC [9713], (vi) Charger Holdings, LLC [5241], (vii)
Powin Energy Ontario Storage, LLC [8348], (viii) Powin Energy Operating Holdings, LLC [2495], (ix) Powin Energy
Operating, LLC [6487]. The Debtors’ mailing address is 20550 SW 115th Avenue Tualatin, OR 97062.
